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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Environmental Law & Policy
Center, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 1:18−cv−12626−TLL−PTM
                                                       Hon. Thomas L. Ludington
United States Coast Guard, et
al.,

                                   Defendant(s),



                          NOTICE OF DETERMINATION OF MOTION
                               WITHOUT ORAL ARGUMENT

     The following motion(s) have been filed:

                Motion to Intervene − #12
   Pursuant to Eastern District of Michigan LR 7.1(f)(2), the motion(s) will be determined by
District Judge Thomas L. Ludington without oral argument.

   Response and reply briefs shall be filed in accordance with Eastern District of Michigan LR
7.1(e).

     Courtesy copies are not required.




                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/K Winslow
                                                    Case Manager

Dated: October 26, 2018
